Case: 2:17-cv-00919-ALM-KAJ Doc #: 21 Filed: 03/06/18 Page: 1 of 1 PAGEID #: 136




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO


  CAMERON PADGETT             ,                      )       STIPULATION OF
                              Plaintiff(s)           )       VOLUNTARY DISMISSAL
                                                     )       PURSUANT TO F.R.C.P.
               v.                                    )       41(a)(1)(A)(ii)
                                                     )
                                                     )       Case No.2:17-CV-919
  BOARD OF TRUSTEES OF
                     , tOSU ET AL.                   )
                     Defendant(s)                    )
                                                     )
                                                     )

STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

        IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their
respective counsel(s) that the above-captioned action is voluntarily dismissed, without prejudice
against all defendant(s) pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(ii). Each party to
bear their own attorney fees and costs.


s/ JAMES E. KOLENICH______                           s/ Michael H. Carpenter________
JAMES E. KOLENICH                                    Michael H. Carpenter
KOLENICH LAW OFFICE                                  Carpenter Lipps & Leland LLP
9435 Waterstone Blvd. 3140
Cincinnati, OH 45249                                 280 Plaza, Suite 1300
(p) (513) 444-2150                                   280 North High Street
Fax (513) 297-6065                                   Columbus, Ohio 43215
Jek318@gmail.com                                     Telephone: 614-365-4100
ATTORNEY FOR PLAINTIFF
                                                     Direct:     614-365-4103
                                                     Facsimile: 614-365-9145
                                                     carpenter@carpenterlipps.com
                                                      ATTORNEY FOR DEFENDANT
